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“Ras

ELSA SETTLEMENT AGREEMENT

This Settlement Agreement covers all understai
(hereinafter referred to as “Plaintiff”) and Competitive Edge
Group”) and Fred R. Boothby (“Boothby”) (hereinafter collectiv
(collectively referred to as “Parties”) whic
Maldonado v. Competitive Edge Group, Inc. (Case No. 6:19
United States District Court for the Middle District of Florida un

(“FLSA”).

WHEREAS, this Agreement is made as the result of a bon
regarding the validity of the Lawsuit and the purporte

WHEREAS, the Parties desire to amicably resolve the L
Claims that Maldonado may have against Defen

and

WHEREAS, Maldonado and Defendants have ¢
resulting in this Agreement, and the Parties believe that

interest.

NOW THEREFORE, in consider;
covenants contained herein, and other goo

WHEREAS, the Parties desire to amica

1. Defendants shall pay the total sums se
settlement and release of the FLSA wage claims asse

Lawsuit. Payment shall b
— Jordan Richards PLLC,

Fort Lauderdale, Florida 33301. These settlement payments,
to avoid any compromise to

from attorneys’ fees and costs

h relate to the subject matte

ation
d and valuable consideration, it is agreed as follows:

bly resolve the Lawsuit together

e delivered to Maldonado’s
EIN number: XX-XXXXXXX, located at 805 E. Broward Blvd. Suite 301,

Michelob Maldonado

Group, Inc. (“Competitive Edge
ely referred to as “Defendants”)
r of the lawsuit Michelob

-cv-398-Orl-22GJK), pending in the
der the Fair Labor Standards Act

ndings between

a fide dispute between the Parties
d claims that underlie the Lawsuit;

awsuit together with any and all

dants whether or not asserted in the Lawsuit;

ntered into good faith discussions
this Agreement is in their mutual

of the foregoing and other promises and mutual

t forth below to Maldonado in full and final
rted or which could have been asserted in the
*s Counsel’s firm, USA Employment Lawyers

which were negotiated separately
Maldonado, shall be allocated as

the total amount of TWELVE THOUSAND DOLLARS
($12,000.00), of which SIX THOUSAND Dollars and
) represents alleged unpaid wages, and SIX

THOUSAND DOLLARS and 00/100 CENTS (6,000.00) represents alleged

yments shall be made by Defendants to

Maldonado within thirty (30) calendar days after case dismissal, whether by Order of

|, approval of this Agreement by the Court (if

related judgment of the Court; and
1 shall receive the total amount of TEN THOUSAND

$10,000.00), of which NINE THOUSAND

follows:
A. Plaintiff shall receive
and 00/100 CENTS
00/100 Cents ($6,000.00
liquidated damages; These pa
the Court after Stipulation of Dismissa.
required), or other
B. Plaintiff's Counse
DOLLARS and 00/ 100 CENTS (
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THREE HUNDRED SIX DOLLARS and 60/100 CENTS ($9,306.60)
represents attorneys’ fees and SIX HUNDRED NINETY-THREE DOLLARS
and 40/100 CENTS ($693.40) represents attorneys’ costs in this litigation. This
payment shall be made by Defendants to Plaintiffs counsel on or before
December 31, 2019, or within thirty (30) calendar days after case dismissal, whether
by Order of the Court after Stipulation of Dismissal, approval of this Agreement by the
Court (if required), or other related judgment of the Court, whichever is later.

C. The sums referenced above must be paid by separate checks and all checks shall
be deemed received by Maldonado when delivered to Maldonado ’s Counsel,
USA Employment Lawyers — Jordan Richards, PLLC. Any tax consequences
associated with such payments shall be the sole and exclusive responsibility and
obligation of Maldonado, except that Defendants shall be responsible for
employer taxes where applicable. Maldonado hereby agrees to indemnify,
defend and hold Defendants harmless of and from any tax liability in any way
arising from or related to this Agreement or any payments made under this
Agreement, which indemnity shall include any attorneys’ fees or costs incurred
in connection with defense of any tax liability asserted. Upon approval by the
Court and subsequent payment of the settlement payment(s) referenced above,
the Lawsuit will be dismissed with prejudice.

Pursuant to Lynn’s Food Stores, Inc. v. U.S. Dep’t. of Labor, 679 F.2d 1350, 1352 (11th
Cir. 1982), the Parties agree that, upon the final execution of this Settlement Agreement by all
parties, the Parties shall jointly move the Court through Plaintiff filing a Joint Motion for Approval
and Proposed Order Dismissing this case with prejudice and jointly ask the Court to approve the
terms of this Settlement Agreement, dismiss the Litigation with prejudice, to retain jurisdiction for
150 days to enforce the terms of this Settlement Agreement, and for each side to bear its own fees
and costs except as set forth herein, no later than November 29, 2019.

2. Payment Default. Should Defendants, jointly and severally, fail to make a payment
of the Settlement Funds as described above, or should any of the checks be returned for non-
sufficient funds or any other reason, Plaintiff's counsel shall give written notice via e-mail to

Defense Counsel, Katie Molloy at malloyk@gtlaw.com and West Holden at holdenw@etlaw.com.

In the event that Defendants, jointly and severally, fail to cure any breach of any term,
provisions, or obligation of this Settlement Agreement within five business (5) days of receiving
the written notification via e-mail, shall entitle the Plaintiff to seek enforcement of such term,
provision, or obligation, and shall entitle the Plaintiff to an award of the reasonable attorney’s fees

and costs.

The Parties agree that if a breach/default occurs, the prevailing party counsel shall be
entitled to attorney's fees and costs incurred related to the same and for collection.

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3s Release_of Claims. With the exception of the obligations arising under this
Agreement, Maldonado, irrevocably and unconditionally releases, remises, acquits, satisfies, and
forever discharges Defendants (all references to Defendants in this paragraph (including sub-parts),
and to the extent any of the following could be held liable for Maldonado’s claims for wages as

alleged in the Lawsuit, shall include Defendants, all officers, members, shareholders of
loyer as defined by 29 U.S.C.

Competitive Edge Group, Inc. to include without limitation any emp ea. OY
§ 203 and applicable case law) of and from any and all claims, demands, liabilities, debts,
judgments, damages, causes of action, obligations, expenses, administrative actions, or suits of
any kind, including without limitation for attorneys’ fees and any costs, for unpaid wages as
alleged in the Lawsuit pursuant to the Claims which include the FLSA, actions under 29 U.S.C. §
216 of the FLSA, record keeping requirements pursuant to the FLSA, notice posting requirements

to the FLSA. Maldonado

pursuant to the FLSA, liquidated damages or attorneys’ fees pursuant oA.
further covenants and agrees not to sue Defendants for any of the Claims released herein and agrees

that if he does so, she shall be in materia! breach of this agreement.

4. Non-Admission Clause. By entering into this Settlement Agreement, Defendants

do not admit and continue to deny any liability whatsoever to Plaintiff or to any other person
igation, or that could have been asserted in the

arising out of any claims asserted in the Lit
der the FLSA and expressly deny any and all

Litigation, including but not limited to any claim un
such liability.

ies. The Parties represent that, as of the date

5.
additional claims that they

that this Settlement Agreement is executed, they are not aware of any
may have against any of the Released Parties and hereby the Parties certify that they have not filed

any claim (except the Litigation released herein), and do not intend to file any claims, demands,
liabilities, and causes of action against any of the Released Parties for actions that occurred prior
to the date of this Settlement Agreement, related to their employment, and/or involving Plaintiff's

employment, other than claims to enforce this Settlement Agreement.

6. : This Settlement Agreement shall be binding upon
each of the Parties and upon their respective heirs, administrators, representatives, executors,
successors, and assigns, and shall inure to the benefit of each party and to their respective heirs,
administrators, representatives, executors, successors, and assigns. :

7. Jurisdiction. The Parties agree that jurisdiction over this matter shall be in the
United States District Court for the Middle District of Florida which is presiding over the
Litigation. The Agreement is governed by the substantive law of the State of Florida, and where
applicable, federal law. If the district court chooses not to retain jurisdiction, then this Settlement
Agreement shall be enforceable in the appropriate court in the Middle District of Florida, Orlando

Division.
8. Severability. In the event that one or more terms or provisions of this Agreement
are found to be invalid or unenforceable for any reason or to any extent, each remaining term and

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provision shall continue to be valid and effective and shall be enforceable to the fullest extent
permitted by law.

9. Entire Agreement. This Agreement constitutes the complete understanding of the
parties hereto and supersedes any and all prior agreements, promises, representations, OF
inducements, whether oral or written, concerning its subject matter. No promises or agreements
made subsequent to the execution of this Agreement by these parties shall be binding unless
reduced to writing and signed by an authorized representative of each party.

10. Enforcement. In the event any action is commenced to enforce said settlement
agreement or for a proven breach of this Agreement, the prevailing party shall be entitled to

reasonable fees and costs.

11. Moluntariness. The Parties certify that they have fully read, negotiated, and
completely understand the provisions of this Agreement, that each Party has been advised by the
other to consult with an attorney before signing the Agreement, and that each Party is signing
freely and voluntarily, and without duress, coercion, or undue influence. The Parties each
acknowledge that he/it are entering into this Agreement freely and voluntarily and with complete
understanding of all the rights he/it is waiving in this Agreement and of the irrevocable nature of
same. Plaintiff and Defendants acknowledge that they have consulted with counsel of their own

choosing before executing this Settlement Agreement.

12. Counterparts: This Agreement may be executed in multiple counterparts, each of
which shall constitute an original, and all of which shall constitute one single Agreement. Faxed

transmissions and/or copies of the signature block shall be deemed enforceable.

13. Effective Date. This Agreement shall become effective upon the date when the last

signatory has executed this Agreement.

14. Construction. Plaintiff and Defendants have jointly participated in the negotiation
of this Agreement and this Agreement is the product of joint draftsmanship by the Parties. In the
event of an ambiguity or question of intent or interpretation arises, this Agreement shall be
construed as if it was drafted jointly by the Parties and no presumptions or burdens of proof shall

arise favoring any party by virtue of authorship of this Agreement.

15. Headings. The Parties agree that the headings used in this Agreement are for
convenience and reference only and in no way define, describe, extend, or limit the scope or intent
of this Agreement or the intent of any provision in it.

16. No cancellation, modification, amendment, deletion, addition, or other changes in

their Agreement or any provision hereof or any right herein provided shall be effective for any
purpose unless specifically set forth in a subsequent written agreement signed by both Plaintiff

and Defendant.

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Date:

By:

 

Michelob Maldonado

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By: SL Lt Date: [{- (y (9

Competitive Edge Growg/Inc.:

he Ley Date: jp 1-19

Fred R. Boothby:

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